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                                               No. 25-2120

                                                 In the
                          United States Court of Appeals for the Ninth Circuit


                                     NATIONAL TPS ALLIANCE, et al. ,
                                                 Appellees,
                                                     v.
                                            KRISTI NOEM, et al. ,
                                                Appellants.

                            On Appeal from the United States District Court
                                for the Northern District of California

                                   Corrected Brief Amicus Curiae of
                                          America's Future,
                                         Citizens United, and
                            Conservative Legal Defense and Education Fund
                                in Support of Appellants and Reversal


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                                      DISCLOSURE STATEMENT

                    The amis curiae herein, America's Future, Citizens United, and

             Conservative Legal Defense and Education Fund, through their undersigned

             counsel, submit this Disclosure Statement pursuant to Federal Rules of Appellate

             Procedure 26.1, 29(c).

                    All of these amis curiae are non-stock, nonprofit corporations, none of

             which has any parent company, and no person or entity owns them or any part of

             them. The amis curiae are represented herein by Jeremiah L. Morgan, who is

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                                                              s/Jeremiah L. Morgan
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                                     INTEREST OF AMICI CURIAE

                    Amis curiae America's Future, Citizens United, and Conservative Legal

             Defense and Education Fund are nonstock, not-for-profit organizations, exempt

             from federal income taxation under sections 501(c)(3) or 501(c)(4) of the Internal

             Revenue Code. Each is dedicated, inter alia, to the correct construction,

             interpretation, and application of law. Amis participate actively in the public

             policy process and have filed numerous amicus curiae briefs in federal and state

             courts.

                                      STATEMENT OF THE CASE

                    The Immigration Act of 1990 established the Temporary Protected Status

             ("TPS") program. See 8 U.S.C. 1254a. The TPS program authorizes the Secretary

             of the Department of Homeland Security ("DHS") to "designate a foreign country

             for TPS when individuals from that country cannot safely return due to armed
                                                                                               99
             conflict, natural disaster, or other extraordinary and temporary circumstances.

             Nat? TPSAII. v. Noem, 2025 U.s. Dist. LEXIS 61630 at *6 (N.D. Cal. Mar. 31,


                    1
                      Counsel for the parties have consented to the filing of this brief amicus
             curiae. No party's counsel authored the brief in whole or in part. No party or
             party's counsel contributed money that was intended to fund preparing or
             submitting the brief. No person other than these amis curiae, their members or
             their counsel contributed money that was intended to fund preparing or submitting
             this brief.
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             2025) ("NTA"). After the country "is given a TPS designation, individuals from

             that country may apply for immigration status. If granted, they may not be

             removed from the United States and are given authorization to work in the United

             States." Id. TPS designations are temporary, but can be extended for a maximum

             of 18 months at a time. Id. at *6, *8. If the "Secretary determines 'that a foreign

             state    no longer continues to meet the conditions for designation' the Secretary
                                                                                                9 99
             'shall terminate the designation by publishing a notice in the Federal Register.

             Id. at *92.

                     The statute provides that "[t]here is no judicial review of any

             determination of the [Secretary] with respect to the designation, or termination

             or extension of a designation, of a foreign state under this subsection." Id at *42

             (emphasis added).

                     On March 9, 2021, shortly after President Bider took office, then-DHS

             Secretary Alej andrew Mayorkas designated Venezuela for TPS status. See id. at *9.

             On "September 8, 2022       DHS extended the 2021 Designation for 18 months

             i.e., from September 10, 2022, through March 10, 2024." Id at *10. Then, on

             October 3, 2023, Mayorkas "extended the 2021 Designation          for another 18

             months        from March 11, 2024    to September 10, 2025" and "also redesignated

             Venezuela for TPS       through April 2, 2025." Id. at * 11.

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                    On January 17, 2025, just days before President Trump was sworn in,

             Mayorkas sought to tie the hands of the new Administration by issuing an order to

             become effective on April 3, 2025      after the end of the Bider Administration

             extending his Venezuela TPS status for the maximum 18 months, until October 2,

             2026. See id. at *13.

                    On January 28, 2025, DHS Secretary Kristi Noem vacated Mayorkas'

             January 17, 2025 order to extend the 2023 designation, by publishing notice of the

             vacate on February 3, 2025. See 90 Fed. Reg. 8805 (Feb. 3, 2025), id. at *16. On

             February 1, 2025, Noem terminated "the 2023 designation, effective in April

             2025 (i. e., 60 days after publication of the termination notice)" with a notice

             published on February 5, 2025. See 90 Fed. Reg. 9040 (Feb. 5, 2025), id. at *20.

                    The National TPS Alliance and several individual Venezuelan and Haitian

             plaintiffs filed suit in the Northern District of California against Secretary Noem,

             principally arguing that her decisions violated the Administrative Procedure Act

             ("APA"). On March 31, 2025, the district court granted what was styled as

             plaintiffs' "motion to postpone" Noem's determinations. The court imposed its

             determination nationwide. Id. at * 141. The district court determined that the bar

             to judicial review in section 1254a(b)(5)(A) was ineffective to preclude APA

             review (id. at *45-49) or the review of constitutional claims (id. at *50). The court

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             began its analysis with 10 pages about the harms the court believed were being

             inflicted on plaintiffs. Id. at *57-67. It ruled that the public interest supported

             relief and that the balance of hardships favored plaintiffs. Id. at *70-81. Finally, it

             found that the plaintiffs had demonstrated likelihood of success on the merits. Id.

             at *81-82.

                    The court's ruling appeared to be founded solely on equal protection

             grounds, based largely on its assertion that "there is evidence of discriminatory

             animus by the decisionmaker at issue, Secretary Noem" as well as "evidence of

             discriminatory animus by President Trump and that his intent and actions bore a

             direct nexus to the actions taken by Secretary Noem...." Id. at *117-18.

                    The district court on April 4, 2025, denied the government's motion to stay

             its order. Nat? TPSAII. v. Noem, 2025 U.s. Dist. LEXIS 65363 (N.D. Cal. 2025).

             A panel of this court refused to stay the order, ruling in a one-paragraph opinion

             on April 18 that "Appellants have not demonstrated that they will suffer

             irreparable harm absent a stay." Nat? TPS All. v. Num, 2025 U.S. App. LEXIS

             9436 (9th Cir. 2025). The government has sought a stay from the U.S. Supreme

             Court, which is pending.




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                                               STATEMENT

                    The injunction issued by the district court cannot properly be viewed in

             isolation, but rather as the latest chapter in a war being waged   largely

             successfully    by one district court judge to prevent both the first and second

             Trump Administrations from lawfully exercising the discretion given by Congress

             to the Executive Branch to administer the TPS program. These circumstances are

             extraordinary, date back over a six-year period, and if they are ignored by this

             Court, they will contribute mightily to the diminishing lack of public confidence in

             the federal judiciary.

                    Within the first year of President Trump's first term (between September

             2017 and January 2018), the DHS Secretary terminated TPS status for Haiti,

             Sudan, Nicaragua, and El Salvador. See Ramos v. Nielsen, 336 F. Supp. 3d 1075,

             1082-85 (2018) ("Ramos I").2 On October 3, 2018, Judge Chen granted plaintiffs'

             Motion for Preliminary Injunction, enjoining these four termination orders,

             summarizing his reasons as follows:

                    [T]he Acting Secretary or Secretary of DHS, in deciding to terminate
                    the TPS status of Haiti, El Salvador, Nicaragua and Sudan, changed

                    2
                      Ramos I was reversed by Ramos v. WoM 975 F.3d 872 (9th Cir. 2020)
             ("Ramos II"), which was vacated by grant of rehearing en bane, Ramos v. Wo% 59
             F.4th 1010 (2023). That appeal was voluntarily dismissed after President Biden
             took office. Ramos v. Mayorkas, 2023 U.S. App. LEXIS 16518 (9th Cir. 2023).

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                    the criteria applied by the prior administrations, and did SO
                    without any explanation or justification in violation of the
                    Administrative Procedure Act. There is also evidence that this may
                    have been done in order to implement and justify a preordained
                    result desired by the White House. Plaintiffs have also raised
                    serious questions whether the actions taken by the Acting Secretary
                    or Secretary was influenced by the White House and based on
                    animus against non-white, non-European immigrants in violation
                    of Equal Protection guaranteed by the Constitution. The issues are
                    at least serious enough to preserve the status quo. [Ramos I at 1080-
                    81 (emphasis added).]

                    To summarize, Judge Chen3 objected to the Trump Administration

             (i) changing the policies of the Obama Administration (ii) in order to carry out the

             policies of President Tramp. Judge Chen grounded his decision on the Equal

             Protection component of the Fifth Amendment based on his perceived "serious

             questions" that someone in the Trump Administration harbored "animus against

             non-white, non-European immigrants." A Ninth Circuit panel reversed Judge

             Chen's injunction, but that decision was vacated when en bane review was

             ordered, allowing the injunction to stay in effect, which "ran out the clock" until

             President Bider was able to take over from President Trump. Thus, Judge Chen's




                    3
                     Judge Chen was nominated by President Obama to the bench four times
             before being confirmed by the Senate, in 2009, twice in 2010, and finally in 2011 .

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             injunction prevented the Trump Administration from changing these TPS policies

             during the President's entire first four-year term.4

                    Judge Chen, according to Wikipedia, served for 16 years as a staff attorney

             for the American Civil Liberties Union ("ACLU") from September 1985 to April

             2001, "specializing in language discrimination cases." In the Ramos litigation, the

             plaintiffs were represented, inter alia, by the ACLU of Southern California and the

             ACLU Foundation of Northern California. The NTA plaintiffs are represented by

             the ACLU Foundation of Northern California, the ACLU Foundation of Southern

             California, and two other organizations.

                    Judge Chen essentially recycled his opinion in Ramos, including his

             circumvention of the statute which provided for "no judicial review" of TPS

             orders, and imputations of animus to the Trump Administration to keep in place

             the Bider Administration's policies, as he previously had acted to keep in place

             the Obama Administration's policies. Judge Chen's injunction is one of

             approximately 84 that have been issued against the Trump Administration in just

             over three months. See Appendix. The matters reported on here require

             investigation by this Court to ensure that elements of the federal judiciary are not

                    4
                      In the Ramos case, the government unlike here stipulated to
             leaving the TPS designations in effect during the appeal of the district
             court's injunction. See Ramos II at 887 n.ll.

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             working to "run out the clock" to block the very changes that the American People

             elected President Trump to implement.5

                                                ARGUMENT

             1.     THE DISTRICT COURT HAD NO AUTHORITY WHATSOEVER
                    TO REVIEW THE SECRETARY'S TPS DETERMINATIONS.

                    In crafting the Immigration Act of 1990, Congress erected a complete bar to

             any judicial review of any aspect of the DHS Secretary's decisions relating to TPS

             designation:

                    There is no judicial review of any determination of the [Secretary]
                    with respect to the designation, or termination or extension of a
                    designation, of a foreign state under this subsection [TPS]. [8 U.S.C.
                    § 1254a(b)(5)(A) (emphasis added).]

             Accordingly, District Judge Chen's opinion below purporting to postpone the

             DHS Secretary's actions constituted nothing less than a judicial usurpation of the

             unreviewable authority Congress granted the Executive Branch in 8 U.S.C.

             § 1254a(b)(5)(a).

                    Congress could not have been more plain. It did not say there is no judicial

             review "except" or "but." There is no judicial review "period." There is no


                    5
                     It is no secret that the American People are losing confidence in courts.
             See B. Vigers, et al., "Americans Pass Judgment on Their Courts: Sharp decline in
             confidence in judiciary is among the largest Gallup has ever measured," Gallup
             (Dec. 17, 2024).

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             review "with respect to" "any" such "determination." Even if Judge Chen

             somehow could view the Secretary's vacate of the TPS designation for Venezuela

             as not a "termination" - an absurd proposition       it still fell into the category of

             "any determination" "with respect to" a "termination." Thus, as properly applied

             here, the statute provides that the district court had "no" authority, and "no"

             jurisdiction, to hear and rule on "any" challenge brought by Plaintiffs to the

             Secretary's decision. Thus, Plaintiffs' challenge should have been dismissed out

             of hand by Judge Chen. With Judge Chen having failed to honor the "no judicial

             review" statute, the challenge should now be dismissed out of hand and without

             further delay by this Circuit Court.

                    This is not the first time that Judge Chen exercised judicial authority where

             Congress declared that he had none, and he was unfazed by the fact that a panel of

             this Court of Appeals previously recognized the weakness of his reasoning in a

             similar case brought during the first Trump Administration. See Ramos II (later

             vacated, as explained supra). Judge Chen refused to believe that Congress could

             possibly have stripped federal courts of the authority to decide critical matters of

             public policy. When this Court reversed the district court's decision in Ramos I, it

             found that:




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                    the district court committed legal error when it deemed Plaintiffs'
                    APA claim reviewable, despite 8 U.S.C. § l254a's bar to judicial
                    review of challenges to the Secretary's TPS determinations. [Ramos
                    II at 899.]

             The panel's opinion may have been vacated upon the grant of en bane review, and

             the case was dismissed due to a change in administrations, but the panel's decision

             was well reasoned. Nevertheless, because this Circuit never had the opportunity

             to perform its en bane review, Judge Chen felt at liberty to "adhere[] to its prior

             views" (NTA at *44) and rule that the Administration's TPS designations were

             subject to "collateral challenges" such as Plaintiffs' APA challenge.

                    Here, the district court went to extreme lengths to work its way around the

             clear language of the statute with a string of linguistic gymnastics exercises. The

             court first argued that since, as a general proposition, the APA favors

             reviewability of agency actions, a court's default position should be that of

             reviewability. The court cited to Abbott Labs. v. Gardner, 387 U.S. 136, 141

             (1967), an APA case dealing with reviewability under the APA. But Abbott Labs

             utterly fails to support the district court's position, as the Supreme Court made

             clear, that the APA simply "embodies the basic presumption of judicial review"

             but provides that rule applies only "so long as no statute precludes such relief or
                                                                              99
             the action is not one committed by law to agency discretion. Abbott Labs at


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             140 (emphasis added). Here, both conditions appear to be met. Applied here,

             Abbott Labs does not support Judge Chen's position, but undermines it.

                    The district court argued that Congress "designed [§ 1254a(b)(5)(A)] to bar

             judicial review of substantive country-specific conditions in service of TPS

             designations, terminations, or extensions of a foreign state     not judicial review

             of general procedures or collateral practices related to such." NTA at *45. But the

             statute's language is painstakingly clear, barring review of "any determination of

             the Attorney General with respect to the designation, or termination or extension

             of a designation." 8 U.S.C. § l254a(b)(5)(A). This would necessarily include

             "practices related to" such designation. Indeed, in the context of a different

             statute, this Court has previously "held that the phrase 'with respect to'    is

             synonymous with 'relating to."' Miller v. CH Robinson Worldwide, Inc., 976

             F.3d 1016, 1030 (9th Cir. 2020). There is no textual support in the judicial bar

             statute in question here to suggest the district court's creative reading.

                    The district court sought to explain its assertion of jurisdiction as follows:

                    Plaintiffs' contention that the decision to vacate was arbitrary or
                    capricious and thus should be set aside does not dictate how the
                    Secretary should ultimately rule on a TPS designation, termination, or
                    extension. Indeed, Secretary Noem's vacate decision was based
                    purely on procedural concerns (et, whether Secretary Mayorkas
                    had taken a "novel approach" or caused confusion) and did not turn,
                    e.g., on country conditions in Venezuela or a concern about U.S.

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                    interests. Therefore, Plaintiffs are simply making a collateral
                    challenge, not a direct one, and § l254a(b)(5)(A) is not implicated.
                    [NTA at *47 (emphasis added).]

                    The district court attempts to read Ramos II to support its decision. It cited

             this Court's language, "[t]o the extent a claim purports to challenge an agency

             'pattern or practice' rather than a specific TPS determination, we may review it

             only if the challenged 'pattern or practice' is indeed collateral to, and distinct

             from, the specific TPS decisions and their underlying rationale." Id. at *46 (citing

             Ramos II at 891-92). Then the district court labels Secretary Noem's rationale for

             the TPS terminations as "collateral" to the terminations themselves. The district

             court states that "Secretary Noem's vacate decision was based purely on

             procedural concerns (et, whether Secretary Mayorkas had taken a 'novel

             approach' or caused confusion." NTA at *47. This is illogical. What Judge Chen

             calls "procedural concerns" were part of the Secretary's exercise of discretion and

             are in no sense "collateral to, and distinct from, the specific TPS decisions and

             their underlying rationale." Indeed, they provided the "underlying rationale" for

             the vacatur.

                    As this Court has ruled, '"with respect to,' when used 'in a legal context

             generally has a broadening effect, ensuring that the scope of a provision covers not

             only its subject but also matters relating to that subject."' Aargon Agency, Inc. v.

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             O'Laughlin, 70 F.4th 1224, 1247 (9th Cir. 2023) (emphasis added) (quoting

             Lamar, Archer & Cofrin, LLP v. Appling, 584 U.S. 709, 717 (2018)) In Lamar,

             the Supreme Court stated, "AS a matter of ordinary usage, 'respecting' means 'in

             view of: considering, with regard or relation to: regarding, concerning." Id. at

             716.

                    Indeed, when asked to interpret statutory language including the
                    phrase "relating to," which is one of the meanings of "respecting,"
                    this Court has typically read the relevant text expansively. See, et.,
                    Coventry Health Care ofMo., Inc. v. Nevils, 581 U.S. 87, 95-96,
                    (2017) (describing "'relate to"' as "expansive" and noting that
                    "Congress characteristically employs the phrase to reach any subj ect
                    that has 'a connection with, or reference to,' the topics the statute
                    enumerates."). [Id. at 717- 18.]

                    Thus, the district court's attempt to divorce the Secretary's reasoning from

             her decision, and then claim the authority to review her reasoning, although not

             her decision, utterly fails. The district court's second gymnastics exercise fares no

             better than its first.

                    Finally, the district court explains that "there does not appear to be any other

             forum where Secretary Noem's decision to vacate could be challenged." Judge

             Chen explains: "[t]he Court, therefore, holds that § 1254a(b)(5)(A) does not bar

             judicial review of Plaintiffs' challenge to the Secretary's decision to vacate." Id.

             at *49. The circularity of the court's reasoning is notable: since the statute


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             prevents judicial review, the district court should exercise judicial review because

             there was no other means of judicial review.

                    This Court in Ramos II expressly rejected the district court's idea that the

             lack of administrative review can override a statutory bar on judicial review:

                    The statute not only bars from judicial review APA challenges to
                    specific TPS determinations, but more broadly, it provides no
                    administrative avenue whatsoever for individual aliens, or foreign
                    states, to apply for TPS designation. In light of this critical
                    distinction between the TPS statute and the provisions in many
                    other immigration statutes, we do not find the lack of an alternative
                    review forum particularly critical to our analysis. [Ramos II at 894-
                    95.]

                    In Ramos II, this Court made crystal clear that the language of

             § 1254a(b)(5)(A) establishes a clear bar to judicial review on any non-

             constitutional grounds. This Court noted, "[t]o begin, the authority to designate a

             foreign country for TPS is vested solely with the Secretary 'after consultation with

             the appropriate agencies of the Government.' 8 U.S.C. § 1254a(b)(1)." Ramos II

             at 890.

                    This Court then noted that the TPS statute, by its terms, intends TPS status

             to be temporary, which militates against an interpretation that the Secretary's

             termination of TPS status is reviewable:

                    The word "may" indicates that, even if the Secretary finds one of
                    these three requisite criteria is met, she retains the discretion not to

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                    designate a country for TPS. In contrast, once a country has been
                    designated for TPS, the Secretary "shall" periodically review the
                    country conditions and "shall" terminate TPS if she finds the
                    requisite criteria are no longer met.... [Id. at 890-91 (emphasis
                    added).]

                    Thus, this Court ruled, the statute preserves the Secretary's discretion from

             judicial review:

                    The TPS statute also does not dictate any substantive guidelines or
                    restrictions on the manner by which the Secretary may reach her TP S
                    determinations, other than setting forth the three possible findings
                    that the Secretary must make before designating a country for TPS .
                    See 8 U.S.C. § l254a(b)(l). Nor does the statute set forth or define
                    the "conditions in the foreign state" that the Secretary must consider
                    in her periodic review, or how she should weigh these conditions.
                    See id. § l254a(b)(l). Read in the context of these provisions,
                    section l254a(b)(5)(A) makes clear that the Secretary's discretion
                    to consider and weigh various conditions in a foreign country in
                    reaching her TPS determinations is not only broad, but
                    unreviewable. [Id. at 891 (emphasis added).]

                    This Court then neatly dispensed with the district court's attempt to argue

             that, even if the Secretary's final TPS designation is not reviewable, her allegedly

             racist motivations can be. "Logically then, section 1254a(b)(5)(A) generally

             precludes courts from inquiring into the underlying considerations and

             reasoning employed by the Secretary in reaching her country-specific TPS

             determinations." Id. (emphasis added).

                    To review Plaintiffs' claim, we must accept that even though the
                    TPS statute affords the Secretary full discretion as to whether she

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                    considers intervening events (or any other factors) when making her
                    TPS determinations the APA's prohibition on "arbitrary and
                    capricious" changes in practice may nonetheless require her to
                    explain herself.... We must also presuppose that even though
                    section l254a precludes us from reviewing the Secretary's TPS
                    determinations and her underlying considerations the APA may
                    independently form the basis of a justiciable challenge and thereby
                    allow such a claim to elude the statute's judicial review bar. This
                    cannot be so.... To conclude otherwise would render section
                    1254a(b)(5)(A) virtually meaningless and would contradict the
                    APA's express language on the limits of the statute's
                    applicability. [Id. at 893-94 (emphasis added).]

                    The district court simply disregards this Court's opinion in Ramos II

             "[b]ecause the Ramos panel decision was vacated and no en banc ruling ever

             issued, this Court's decision in Ramos has not been overturned.... Given these

             circumstances, the Court adheres to its prior views on the scope of

             § 1254a(b)(5)(A)." NTH at *44.

                    But it is this Court's opinion in Ramos II, not the desperate linguistic

             exercises of the district court here, that is faithful to the text of § 1254a(b)(5)(A).

             This Court should follow the careful interpretation of Ramos II, and the clear text

             of the statute, and should vacate the ruling of the court below.




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             II.    THE DISTRICT COURT ERRED IN FINDING A VIOLATION OF
                    EQUAL PROTECTION PRINCIPLES.

                    A.      Judge Chen Makes Political and Baseless Charges of Animus,
                            Recycled from His 2018 Ramos I Decision.

                    Judge Chen found that the Plaintiffs were likely to prevail on their equal

             protection challenge based almost entirely on his perception of the racial "animus"

             of President Trump and Secretary Noem. NTA at *110. Judge Chen relied on

             Plaintiffs' accusation that "Secretary Noem called Venezuelans "dirt bags.""' Id.

             at * 120. However, Secretary Noem was clearly referencing violent Tren de

             Aragua ("TdA") gang members when she stated, "we are going to follow the

             process, evaluate all of these individuals that are in our country, including the

             Venezuelans that are here and members of [TdA]. Listen, I was in New York City

             yesterday and the people of this country want these dirt bags out." Id.

                    Judge Chen embraced Plaintiffs' assertion that "'America first' was 'a code

             word for removal of immigrants who are non-white and/or non-European." Id. at

             * 126. The court deemed that the removal of TPS status from Venezuela

             "continues a pattern of the Tramp administration's targeting of non-white,

             non-European TPS holders." Id. at * 132-33. Judge Chen called President

             Trump's statement that he planned on "ending TPS designations to put 'America

             first"' a "discriminatory statement." Id. at * 122. Again and again, Judge Chen

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             charged the Trump Administration with animus. Id. at *6, *110, *116, *118,

             *131, *134, *137, and *138.

                     These charges are not new, as they are recycled from Judge Chen's 2018

             accusations against President Tramp in Ramos I, invalidating different TPS

             actions made by a different DHS Secretary during President Trump's first term. In

             Ramos I, Judge Chen declared that "President Tramp harbors an animus against

             non-white, non-European aliens which influenced his (and thereby the Secretary's)

             decision to end the TPS designation." Ramos I at 1100 (emphasis added). As he

             has here, Judge Chen adopted the Ramos plaintiffs' claim that "America First" is

             "a code word for removal of immigrants who are non-white and/or

             non-European." Id. at 1104. Judge Chen determined that racial "animus" infected

             the TPS terminations and found that equal protection had been violated. Id. at

             1098.

                     B.     Judge Chen Misapprehends the Application of the Equal
                            Protection Principles to Immigration.

                     Judge Chen disregards the principle articulated by the Supreme Court that

             "equal protection of the laws" does not and cannot mean that the law operates with

             precise equality upon every activity of every human being in every circumstance.

             Rather, Equal Protection "is essentially a direction that all persons similarly


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             situated should be treated alike." City of Cleburne v. Cleburne Living Ctr., 473

             U.S. 432, 439 (1985). Thus, Equal Protection has minimal utility at best in the

             immigration context, as the Supreme Court has long recognized for a number of

             reasons.

                    First, constitutional rights are personal to individuals and do not attach to

             foreign nations.6 Unlike a determination on an individual deportation, the

             determination made by Secretary Noem here         that Venezuela should no longer

             receive Temporary Protected Status       was a determination that a foreign country

             no longer met the statutory factors that permit its citizens to remain here via a TPS

             designation.

                    Second, citizens of one foreign nation will seldom be "similarly situated" to

             citizens of another nation, which the TPS statute recognizes. For a nation to

             receive TPS status, there must be either (i) "an ongoing armed conflict" there,

             (ii) an "environmental disaster in the state resulting in a substantial, but temporary,

             disruption of living conditions," or (iii) "exist extraordinary and temporary

                    6
                       See, et., Johnson v. Eisentrager, 339 U.S. 763, 784-85 (1950)
             ("extraterritorial application of organic law would have been so significant an
             innovation in the practice of governments that, if intended or apprehended [at
             ratification], it could scarcely have failed to excite contemporary comment. Not
             one word can be cited. No decision of this Court supports such a view.... None
             of the learned commentators on our Constitution has even hinted at it. The
             practice of every modem government is opposed to it").
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             conditions     that prevent aliens   from returning to the state in safety." Aliens

             from non-TPS countries cannot claim the advantage of an extended period in the

             United States. If a country does not meet these statutory factors, those foreign

             nationals are no longer protected by the statute.

                    c.      Courts May Not Look Behind Facially Legitimate Executive
                            Justifications.

                    The Supreme Court deemed the concept of "equal protection" to be part of

             due process protection in Bolling v. Sharpe, 347 U.S. 497 (1954), where the Court

             stated that discrimination by the federal government cannot be "so unjustifiable as

             to be violative of due process." Id. at 499. The extent of the application of equal

             protection to executive enforcement of immigration law is exceedingly narrow:

                    [P]lenary congressional power to make policies and rules for
                    exclusion of aliens has long been firmly established.... Congress has
                    delegated conditional exercise of this power to the Executive. We
                    hold that when the Executive exercises this power negatively on
                    the basis of a facially legitimate and bona fide reason, the courts
                    will neither look behind the exercise of that discretion, nor test it
                    by balancing its justification against [constitutional] interests....
                    [Kleindienst v. Mandel, 408 U.S. 753, 769-70 (1972) (emphasis
                    added).]

                    DHS' February 5, 2025 notice of termination provided several clear, bona

             fide reasons, including:

                    TPS has allowed a significant population of inadmissible or illegal
                    aliens without a path to lawful immigration status to settle in the

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                    interior of the United States, and the sheer numbers have resulted in
                    associated difficulties in local communities where local resources
                    have been inadequate to meet the demands caused by increased
                    numbers.... mayors from cities across the United States are
                    attempting to accommodate Venezuelan illegal aliens, city shelters,
                    police stations, and aid services are at a maximum capacity. [NTA at
                    *22-24, citing 90 Fed. Reg. 9040 at 9042-43.]

             As the Government brief in district court explains, the Secretary's decision

             included a reassessment of conditions in Venezuela. See Brief of Appellants ("In

             making this determination, she stated that 'there are notable improvements in

             several areas, such as the economy, public health, and crime,' that allow for

             Venezuelan nationals to be 'safely returned to their home country.' 6-ER-1339.").

                    Secretary Noem's notice also found that the TPS program had a potential

             "magnet effect," attracting additional Venezuelan nationals even beyond the

             current TPS beneficiaries. "Among the[] Venezuelan nationals who have crossed

             into the United States are members of the Venezuela gang known as Tren de

             Aragua," and the Secretary therefore considered the "potential nexus to criminal

             gang membership" and "public safety" concerns as part of her determination. 90

             Fed. Reg. 9040 at 9042. Multiple news outlets have also reported extensively on

             the crimes committed by TdA gang members against U.S. citizens on U.S. soil.7

                    7
                      See, et., B. Blankley, "Venezuelan Prison Gang Crime, Arrests
             Confirmed in 22 U.S. States," Homeland Security News Wire (Dec. 31, 2024)
             (collecting news stories relating to Tren de Aragua crimes against American
                                                      21
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             The Secretary has clearly proffered "a facially legitimate and bona fide" rational

             basis for her decisions. Judge Chen had no justification whatsoever to look behind

             this decision and then to impute animus.

                    In his eagerness to find a pattern of discrimination against non-white

             persons, Judge Chen fails to recognize that few "white European" nations are

             likely to receive TPS status. Few have been engaged in "armed conflict" since the

             TPS program was created. Few have suffered "disaster       resulting in a

             substantial, but temporary, disruption of living conditions" and been "unable,

             temporarily, to handle adequately the return to the state of aliens who are

             nationals...." Few have endured "extraordinary     conditions    that prevent aliens

             who are nationals of the state from returning to the state in safety." Accordingly,

             most nations with TPS status, and thus most nations whose TPS status will

             terminate, will necessarily be "non-white, non-European" nations. For this reason,

             a judicial finding of discrimination against "non-white" persons is an fabrication.

             This Court recognized this reality in Ramos II:

                    [V]irtually every country that has been designated for TPS since its
                    inception has been "non-European" (with the exception of Bosnia


             citizens), S. Hankinson and E. Schniederjan, "Tren de Aragua Is the Latest
             Transnational Criminal Organization to Establish Itself in the U.S.," Heritage
             Foundation (Oct. 15, 2024) (collecting news stories of Tren de Aragua violent
             crimes).
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                    and the Province of Kosovo) and most have majority "non-white"
                    populations. Under the district court's logic, almost any TPS
                    termination in the history of the program would bear "more heavily"
                    on "non-white, non-European" populations and thereby give rise to a
                    potential equal protection claim. This cannot be the case.... [Ramos
                    II at 898 (emphasis added).]

                    The Supreme Court has also rejected similar claims, noting that "because

             Latinos make up a large share of the unauthorized alien population, one would

             expect them to make up an outsized share of recipients of any cross-cutting

             immigration relief program," and this does not "establish[] a plausible equal

             protection claim." Dep 't of Homeland Sec. v. Regents of the Univ. ofCal., 591

             U.S. 1, 34 (2020). The Court added, "[w]ere this fact sufficient to state a claim,

             virtually any generally applicable immigration policy could be challenged on
                                         99
             equal protection grounds. Id. (emphasis added).

                    According to U.S. Citizenship and Immigration Services, the following

             countries currently have TPS designations: Afghanistan, Burma (Myanmar),

             Cameroon, El Salvador, Ethiopia, Haiti, Honduras, Lebanon, Nepal, Nicaragua,

             Somalia, South Sudan, Sudan, Syria, Ukraine, Venezuela, and Yemen.8 The only

             remotely "white European" nation on the list is Ukraine.



                    8
                      U.S. Citizenship and Immigration Services, "TemporarLProtect 1
             Status." (last updated May 6, 2025).
                                                      23
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                    If racial "animus" were the motivating factor, Secretary Noem would have

             terminated all TPS designations, as virtually all involve nations with majority

             "non-white, non-European" populations. Instead, she has cited factors such as

             high crime levels and strains on U.S. resources created by aliens of specified

             countries, while leaving TPS designations in place for other countries       all but

             one of which are "non-white, non-European" nations.

                    D.       The District Court Disregarded the Supreme Court's Instruction
                             that Equal Protection Is Not a Basis for a Judicial Takeover of
                             Immigration Law.

                    For all these reasons, equal protection is ill-suited as a basis to impede the

             Executive's enforcement of immigration law. The Supreme Court has recognized

             this reality:

                    The fact that all persons, aliens and citizens alike, are protected by the
                    Due Process Clause does not lead to the further conclusion that all
                    aliens are entitled to enjoy all the advantages of citizenship or,
                    indeed, to the conclusion that all aliens must be placed in a single
                    homogeneous legal classification.... In the exercise of its broad
                    power over naturalization and immigration, Congress regularly makes
                    rules that would be unacceptable if applied to citizens. The exclusion
                    of aliens and the reservation of the power to deport have no
                    permissible counterpart in the Federal Government's power to
                    regulate the conduct of its own citizenry. The fact that an Act of
                    Congress treats aliens differently from citizens does not in itself
                    imply that such disparate treatment is "invidious." [Mathews v. Diaz,
                    426 U.s. 67, 78-80 (1976).]




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                    Equal protection jurisprudence is a poor fit as a metric for judging

             immigration law, precisely because the Constitution places authority for foreign

             relations and immigration exclusively with the political branches, not the courts:

                    For reasons long recognized as valid, the responsibility for
                    regulating the relationship between the United States and our
                    alien visitors has been committed to the political branches of the
                    Federal Government. Since decisions in these matters may implicate
                    our relations with foreign powers, and since a wide variety of
                    classifications must be defined in the light of changing political and
                    economic circumstances, such decisions are frequently of a
                    character more appropriate to either the Legislature or the
                    Executive than to the Judiciary. This very case illustrates the need
                    for flexibility in policy choices rather than the rigidity often
                    characteristic of constitutional adjudication.... Any rule of
                    constitutional law that would inhibit the flexibility of the political
                    branches of government to respond to changing world conditions
                    should be adopted only with the greatest caution. The reasons that
                    preclude judicial review of political questions also dictate a narrow
                    standard of review of decisions made by the Congress or the
                    President in the area of immigration and naturalization. [Mathews at
                    81-82 (emphasis added).]

                    Thus, "it is not 'political hypocrisy' to recognize that the Fourteenth

             Amendment's limits on state powers are substantially different from the

             constitutional provisions applicable to the federal power over immigration

             and naturalization." Id. at 86-87 (emphasis added).

                    Since the Secretary has provided facially legitimate reasons for vacating

             Venezuela's TPS status, Congress' delegation of authority is sufficient, and courts


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             are not to "look behind" the determination in search of presumed illegitimate

             motivations :

                    [U]pon due consideration of the congressional power to make rules
                    for the exclusion of aliens, and the ensuing power to delegate
                    authority to [an executive official] to exercise substantial discretion in
                    that field. [Kleindienst v.] Mandel held that an executive officer's
                    decision denying a visa that burdens a citizen's own constitutional
                    rights is valid when it is made "on the basis of a facially legitimate
                    and bona fide reason." Once this standard is met, "courts will
                    neither look behind the exercise of that discretion, nor test it by
                    balancing its justification against" the constitutional interests of
                    citizens the visa denial might implicate. [Kerry v. Din, 576 U.S. 86,
                    103-04 (2015) (Kennedy, J., concurring).]

                    Judge Chen's equal protection finding is unauthorized, unmoored from the

             facts and the law, and must be reversed.

                                                CONCLUSION

                    For the foregoing reasons, this Court should reverse the district court's

             decision.

                                                             Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

                    IT IS HEREBY CERTIFIED that service of the foregoing Corrected Brief

             Amicus Curiae of America's Future, et al., in Support of Appellants and Reversal

             was made, this 20th day of May 2025, by the Court's Appellate Case Management

             System upon the attorneys for the parties.

                                                          /s/ Jeremiah L. Morgan

                                                          Jeremiah L. Morgan
                                                          Attorney for Amis Curiae
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                                 NATIONAL TPS ALLIANCE v. TRUMP
                                      Appendix to Amicus Brief.

                             FEDERAL COURT INJUNCTIONS AGAINST
                                 THE TRUMP ADMINISTRATION
                                (January 20, 2025 through May 6, 2025)

                                      BIRTHRIGHT CITIZENSHIP

             1. New Hampshire Indonesian Community Support v. Trump, No. 1:25-cv-00038
                Judge Joseph N. Laplante (G.W. Bush) of the District of New Hampshire
             enjoined any enforcement of Trump's birthright citizenship EO within the state.

             2. Washington v. Trump, No. 2:25-cv-00127      Judge John C. Coughenour
             (Reagan) of the District of Washington enjoined any enforcement of Trump's
             birthright citizenship EO nationwide. The case was appealed to the Ninth Circuit
             and the Supreme Court, where it is pending.

             3. New Jersey v. Trump; Doe v. Trump, No. 1:25-cv-10139       Judge Leo T.
             Sorokin (Obama) of the District of Massachusetts enjoined any enforcement of
             Trump's birthright citizenship EO within the state. The case was appealed to the
             First Circuit and the Supreme Court, where it is pending.

             4. CASA Inc. v. Trump, No. 8:25-cv-00201      Judge Deborah L. Boardman
             (Bider) of the District of Maryland en oined any enforcement of Trump's
             birthright citizenship EO nationwide. The case was appealed to the Fourth Circuit
             and the Supreme Court, where it is pending.

                                              IMMIGRATION

             5. JG.G. v. Trump, No. 1:25-cv-00766 Judge James E. Boasberg (Obama) of
             the District of D.C. ordered flights of gang members and terrorists rerouted back
             to the United States, and then ordered that Trump cannot deport anyone under the
             Alien Enemies Act without a hearing. This was upheld by D.C. Circuit, then on
             April 7, the Supreme Court vacated the district court's TROs. Judge Boasberg on
             April 16 threatened the Tramp administration with criminal contempt charges, but
             on April 18 the DC Circuit issued an administrative stay in the appeal from Judge

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             Boasberg's Apr. 16 contempt-related order. Plaintiffs filed an April 24 amended
             complaint including a habeas petition for a class of individuals and an April 25
             motion for a permanent injunction.

             6. Chung v. Trump, No. 1:25-cv-02412      Judge Naomi R. Buchwald (Clinton) of
             the Southern District of New York issued a temporary restraining order preventing
             Trump from deporting a Columbia University student for pro-Hamas activism.

             7. Philo. Yearly Meeting of The Religious Soc 'V of Friends v. US. Dep 't of
             Homeland See., No. 8:2025-cv-00243 Judge Theodore D. Chuang (Obama) of
             the District of Maryland en oined ICE raids in houses of worship.

             8. MK. v. Joyce, No. 1:25-cv-01935 Judge Jesse M. Furman (Obama) of the
             Southern District of New York issued a temporary restraining order forbidding the
             removal of a prisoner from the U.S. to Venezuela until the court could rule on the
             merits of the removal. This case was transferred on March 19 as Khalil v. Joyce,
             2:25-cv-01963 Judge Michael E. Farbiarz (Biden) of the District of New Jersey
             ordered on that same day that "Petitioner shall not be removed from the United
             States unless and until the Court issues a contrary Order."

             9. Parry v. Castro, No. 1:24-cv-00912     Judge Kenneth J. Gonzales (Obama) of
             the District of New Mexico issued a temporary restraining order on February 9
             blocking the transfer of three Venezuelans to Gitmo. They were then removed to
             their home country instead and voluntarily dismissed their case.

             10. Vizguerra-Ramirez v. Choate, No. 1:25-cv-00881      Judge Nina Y. Wang
             (Bider) of the District of Colorado en oined the ICE deportation of a Mexican
             citizen.

             11. National TPS Alliance v. Noem, No. 3:25-cv-01766 Judge Edward M. Chen
             (Obama) of the Northern District of California enjoined ending Temporary
             Protected Status ("TPS") for 350,000 to 600,000 Venezuelans.

             12. Pacito v. Trump, No. 2:25-cv-00255    Judge Jamal N. Whitehead (Bider) of
             the Western District of Washington granted a nationwide preliminary injunction
             on February 28 blocking President Trump's Executive Order indefinitely halting
             entry through the U.S. Refugee Admissions Program (USRAP). On appeal, the

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             Ninth Circuit partially granted the Tramp administration's emergency motion to
             stay, and filed an order clarifying their stay on April 21.

             13. City and County of San Francisco v. Donald J Trump, No. 3 :25-cv-01350
             Judge William H. Orlick III (Obama) of the Northern District of California
             granted a preliminary injunction April 24 enjoining President Trump's efforts to
             have the Department of Justice investigate and prosecute "sanctuary cities"
             policies and government officials interfering with immigration enforcement.

             14. D. VD. V. US. Department of]-Iomeland Securizy, No. 1:25-cv-10676           Judge
             Brian E. Murphy (Bider) of the District of Massachusetts enjoined the Trump
             administration over the recent policy of deporting non-citizens with final removal
             orders to a third country, specifically El Salvador, without first providing an
             opportunity to contest removal.

             15. Community Legal Services in East Palo Alto v. US. Dep 't of]-IHS, No.
             3 :25-cv-02847 Judge Araceli Martinez-Olguin (Bider) of the Northern District
             of California issued a temporary restraining order on April 1 blocking Defendants
             from terminating funding for Department of Health and Human Services' (HHS)
             Office of Refugee Resettlement (ORR) funding for legal representation services
             for unaccompanied immigrant children through April 16, then on April 10
             extended the TRO through April 30. Defendants' appeal of the TRO to the Ninth
             Circuit was denied, as was a petition for rehearing en banc. On April 29, the
             District Court granted a preliminary injunction blocking Defendants from
             withdrawing the services or funds provided by ORR until a final judgment in the
             matter is issued. Defendants appealed the PI to the 9"'_Circuit on Apr. 30.

             16. JA. V. v. Trump, No. 1:25-cv-00072      Judge Fernando Rodriguez (Trump) of
             the Southern District of Texas on April 9 temporarily enjoined the Trump
             administration from deporting Venezuelans outside of the district under the Alien
             Enemies Act. On May l, Judge Rodriguez certified a class and granted a
             permanent injunction.

             17. G.F.F. v. Trump, No. 1:25-cv-02886         Judge Alvin Hellerstein (Clinton) of
             the Southern District of New York granted a temporary restraining order on April
             9 on behalf of a class of all persons in the district subject to deportation under the
             Alien Enemies Act. A Preliminary Injunction was granted May 6.

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             18. Doe v. Noem, No. 1:25-cv-10495       Judge Indira Talwani (Obama) of the
             District of Massachusetts, on April 14, granted a motion to stay the Department of
             Homeland Security's blanket revocation of Cuba, Haiti, Nicaragua, and Venezuela
             parole programs (the "CHNV parole programs") and ordering case-by-case review
             of any termination of work authorization permits to remain in the United States.

             19. Vitoria Aviles v. Trump, No. 2:25-cv-00611      Judge Gloria Maria Navarro
             (Obama) of the District of Nevada issued a preliminary injunction on April 17
             prohibiting the government from removing the Petitioner from the United States
             under the Alien Enemies Act until after his merits hearing.

             20. D.B.U. v. Trump, No. 1:25-cv-01163 Judge Charlotte Sweeney (Bider) of
             the District of Colorado issued a temporary restraining order on April 22
             forbidding the administration from removing Venezuelan illegal aliens from
             Colorado for deportation under the Aliens Enemies Act. A motion for a
             preliminary injunction is pending. On appeal to the 10th Circuit, a panel on April
             29 denied an emergency motion for stay.

             21. A.S.R. v. Trump, No. 3:25-cv-00113 Judge Stephanie Haines (Trump) of the
             Western District of Pennsylvania granted a temporary restraining order on April
                on behalf of a class of all persons in the district subject to deportation under the
             Alien Enemies Act that they must be given 14 days' notice and hearing before any
             removal from the district, pursuant to the Supreme Court's decision in J G. G. v.
             Trump.

             22. Mahdawi v. Trump, No. 2:25-cv-00389         Judge Geoffrey W. Crawford
             (Obama) of the District of Vermont extended a temporary restraining order on
             April 24 "for a period of 90 days or until dismissal of this case or grant of a
             preliminary injunction, whichever is earliest no respondent... shall remove
             [Mohsen Mahdawi, a Palestinian] from Vermont without further order from this
             court."

             23. Yostin Sleiker Gutierrez-Contreras v. Warden Desert View Annex, No.
             5:25-cv-00911 Judge Sunshine S. Sykes (Bider) of the Central District of
             California, issued a temporary restraining order on April 16 preventing the
             government from removing a Venezuelan at risk of being deported to El Salvador


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             under the Alien Enemies Act. On April 28, the TRO was dissolved since the
             Plaintiff was in Texas when the petition was filed.

                    *NOTE: According to Politico, there have been over 100 lawsuits
                    and 50 restraining orders related to the F-1 visas and the Student and
                    Exchange Visitor Information System (SEVIS) in 23 states. The
                    Trump Administration is working to resolve this situation, so these
                    cases are not included here.

                                              TRANSGENDER

             24. Talbott v. Trump, No. 1:25-cv-00240 Judge Ana C. Reyes (Bider) of the
             District of D.C., a lesbian, enjoined Trump's rule preventing "transgender"
             persons from serving in the military. The case is on appeal to the D.C. Circuit.

             25. PFLAG v. Trump, No. 8:25-cv-00337 Judge Brendan A. Hurson (Bider) of
             the District of Maryland granted an injunction against Trump's order denying
             federal funding to institutions performing chemical or surgical "transgender"
             mutilation on minors.

             26. Washington v. Trump, No. 2:25-cv-00244 Judge Lauren J. King (Bider) of
             the Western District of Washington enjoined Trump's order denying federal
             funding to institutions performing chemical or surgical "transgender" mutilation
             on minors. The case is on appeal to the Ninth Circuit.

             27. Ireland v. Hegseth, No. 1:25-cv-01918 Judge Christine P. O'Heam (Bider)
             of the District of New Jersey enjoined the Air Force from removing two
             "transgender" service members pursuant to Trump's order banning "transgender"
             service members.

             28. Doe v. McHenry; Doe v. Bondi, No. 1:25-cv-00286 Judge Royce C.
             Lamberth (Reagan) of the District of D.C. enjoined the transfer of twelve
             "transgender women" to men's prisons under Trump's order, and terminating their
             taxpayer-funded hormone treatments. The injunction has been appealed to the
             D.C. Circuit.




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             29. Moe v. Trump, No. 1:25-cv-10195 Senior Judge George A. O'Too1e Jr.
             (Clinton) of the District of Massachusetts enjoined the transfer of a "transgender
             woman" to a men's prison under Trump's order. This case has been transferred to
             another, unidentified, district.

             30. Jones v. Trump, No. 1:25-cv-401 Judge Royce C. Lamberth (Reagan) of the
             District of D.C. en oined the transfer of three "transgender women" to men's
             prisons and termination of their taxpayer-funded hormone treatments under
             Trump's order.

             31. Shilling v. Trump, No. 2:25-cv-00241 Judge Benjamin H. Settle (G.W.
             Bush) of the Western District of Washington en oined Trump's order to remove
             "transgender" service members. The Ninth Circuit denied a request for a stay of
             the injunction; an Application for Stay filed at the Supreme Court (24A1030), and
             the stay was granted May 6.

             32. Maine v. Department ofAgriculture, No. 1:25-cv-00131 Judge John
             Woodcock (G.W. Bush) of the District of Maine granted a temporary restraining
             order on April 11 on behalf of Maine, in its lawsuit against Trump's federal
             education funding freeze to Maine for its refusal to ban boys from girls' teams.

                                     GOVERNMENT OPERATIONS

             33. Dellinger v. Bessel, No. 1:25-cv-00385 Judge Amy B. Jackson (Obama) of
             the District of D.C. issued a restraining order invalidating Trump's firing of U.S.
             special counsel Hampton Dellinger. The order was upheld by the D.C. Circuit
             Court of Appeals and the Supreme Court, then was temporarily lifted by the Court
             of Appeals on March 5, on March 6, Dellinger announced that he was dropping
             his case.

             34. American Federation of Government Employees, AFL-CIO v. US. Office of
             Personnel Management, No. 3:25-cv-01780 Judge William H. Alsup (Clinton)
             of the Northern District of California enjoined Trump's order for six federal
             agencies to dismiss thousands of probationary employees. The injunction was
             upheld by the Ninth Circuit, but the Supreme Court issued a stay_ba3d on
             standing.


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             35. Wilcox v. Trump, No. 1:25-cv-00334 Judge Beryl A. Howell (Obama) of
             the District of D.C. enjoined Trump's firing of National Labor Relations Board
             member Gwynne Wilcox, a Democrat, and ordered her reinstated to finish her
             term. The D.C. Circuit stayed the injunction, then reinstated it, and an application
             for a stay has been filed at the Supreme Court, and the district court decision
             stayed by Chief_ Justice_Roberts.

             36. Harris v. Bessel, No. 1:25-cv-00412 Judge Rudolph Contreras (Obama) of
             the District of D.C. enjoined Trump's firing of Merit Systems Protection Board
             member Cathy Harris and ordered her reinstated. The D.C. Circuit stayed the
             injunction, then reinstated it, an application for a stay has been filed at the
             Supreme Court, and the district court decision stayql by Chief Justice Roberts.

             37. American Foreign Service Association v. Trump, No. 1:25-cv-00352 Judge
             Carl J. Nichols (Trump) of the District of D.C. issued a temporary restraining
             order against Trump's firing of USAID employees. He later vacated the TRO and
             denied a preliminary injunction against the firings.

             38. Does 1-9 v. Department of./ustice, No. 1:25-cv-00325 Judge Jia M. Cobb
             (Bider) of the District of D.C. enjoined Trump from releasing the names of any
             FBI agents who worked on the January 6 investigation.

             39. Doctors for America v. US. Oftce of Personnel Management, No. 1:25-cv-
             00322 Judge John D. Bates (G.W. Bush) of the District of D.C. ordered that
             CDC and FDA webpages that "inculcate or promote gender ideology" be restored
             after Tramp ordered them removed.

             40. Perkins Cole v. DOJ, No. 1:25-cv-00716 Judge Beryl A. Howell (Obama)
             of the District of D.C. enjoined Trump's directive barring government agencies
             doing business with Perkins Coie and banning PC attorneys from federal
             buildings.

             41. Jenner Block v. DOJ, No. 1:25-cv-00916 Judge John D. Bates (G.W. Bush)
             of the District of D.C. enjoined Trump's directive barring government agencies
             from doing business with Jenner Block and banning that firm's attorneys from
             federal buildings.


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             42. Wilmer Cutler Pickering Hale and Dorr LLP v. Executive Office of the
             President, No. 1:25-cv-00917 Judge Richard J. Leon (G.W. Bush) of the
             District of D.C. en oined Trump's directive barring government agencies from
             doing business with Wilmer and banning that firm's attorneys from federal
             buildings.

             43. Sus ran Godfrey LLP v. Executive Office of the President, No. 1:25-cv-01107
                Judge Loren L. AliKhan (Bider) of the District of D.C. on April 5 enjoined
             Trump's directive barring government agencies from doing business with Sus ran
             Godfrey and banning that firm's attorneys from federal buildings.

             44. American Federation of Government Employees, AFL-CIO v. Ezell, No. 1:25-
             cv-10276 Senior Judge George A. O'Toole Jr. (Clinton) of the District of
             Massachusetts issued a temporary restraining order against Trump's buyout of
             federal employees. The judge later lifted the TRO and denied an injunction,
             allowing the buyout to go forward.

             45. Maryland v. US Dept. of Agriculture, No. 1:25-cv-00748 James K. Bredar
             (Obama) of the District of Maryland issued a TRO ordering 38 agencies to stop
             firing employees and reinstate fired employees. On April 9, the Fourth Circuit
             stayed the district court injunction, noting the Supreme Court's stay in AFGE,
             AFL-CIO v. OPM and Ezell).

             46. Does 1-26 v. Musk, No. 8:25-cv-00462 Judge Theodore D. Chuang
             (Obama) of the District of Maryland ordered DOGE to reinstate email access for
             fired USAID employees.

             47. American Federation of Teachers v. Bessel, No. 8:25-cv-00430 Judge
             Deborah L. Boardman (Bider) of the District of Maryland enjoined DOE and
             Office of Personnel Management from disclosing personal information of
             employees to DOGE. On April 7, the Fourth Circuit granted a stay to the
             Defendants pending the appeal.

             48. American Federation of State, County and Municipal Employees, AFL-CIO v.
             Social Security Administration, No. 1:25-cv-00596 Judge Ellen L. Hollander
             (Obama) of the District of Maryland granted an injunction forbidding the Social


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             Security Administration from providing personal information to DOGE. The
             Fourth Circuit dismissed an appeal for lack jurisdiction.

             49. Boehm v. Morocco, No. 1:25-cv-00660 Judge Richard J. Leon (G.W. Bush)
             of the District of D.C. issued a temporary restraining order forbidding Trump from
             removing Brehm from, and appointing Marocco to, the U.S. African Development
             Foundation.

             50. American Oversight v. Hegseth, No. 1:25-cv-00883 Judge James E.
             Boasberg (Obama) of the District of D.C. issued an order "as agreed by the
             parties," for the government to preserve all Signal communications related to the
             leak to an Atlantic editor of DoD conversations in Houthi strike.

             51. National Treasury Employees Union v. Trump, No. 1:25-cv-00935         Judge
             Paul Friedman (Clinton) of the District ofD.C., on April 25, enjoined agencies
             from implementing Trump's executive order limiting collective bargaining rights
             for many federal employees, but specifically did not enjoin President Trump.

             52. Woonasquatueket River Watershed Council V. Department ofAgrieulture, No.
             1:25-cv-00097 Judge Mary McElroy (Trump) of the District of Rhode Island
             issued a preliminary injunction against Trump's federal funding freeze for various
             departments including the EPA. The Tramp administration appealed to the l St
             Circuit on May l.

             53. Associated Press v. Budowich, No. 1:25-cv-00532 Judge Trevor McFadden
             (Trump) of the District of D.C. on April 8 enjoined the White House from keeping
             AP reporters out of the White House press briefings until it agrees to refer to the
             "Gulf of America."

             54. Novedades YServicios, Inc. V. FinCEN, 3:25-cv-00886 Judge Janis L.
             Sammartino (G.W. Bush) of the Southern District of California granted a
             temporary straining order on April 22 against Department of Treasury FinCEN's
             Geographic Targeting Order which requires businesses along the southern border
             to file Currency Transaction Reports with FinCEN at a $200 threshold.

             55. New York, et al. v. Donald J Trump, No. 1:25-cv-01144 Judge Jeannette A.
             Vargas (Bider) of the Southern District of New York issued a preliminary

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             injunction on February 21 blocking DOGE's access to certain Treasury
             Department payment records. Then on April II, Judge Vargas partially dissolved
             her preliminary injunction since "based on existing record" mitigation, training
             and vetting procedures were adequate to satisfy her concerns.

                                                 FUNDING

             56. National Treasury Employees Union v. Vougnt, No. 1:25-cv-00381 Judge
             Amy B. Jackson (Obama) of the District of D.C. halted Trump's budget cuts and
             layoffs at the Consumer Financial Protection Bureau. On March 3 l, the
             government appealed Judge Jackson's preliminary injunction order to the D.C.
             Circuit, which on April l l ordered a partial stay of the preliminary injunction.

             57. AIDS Vaccine Advocacy Coalition v. Department of State, No. 1:25-cv-00400
                Judge Amir H. Ali (Bider) of the District of D.C. ordered Trump to unfreeze
             and spend $2 billion in USAID funds. The Supreme Court, in a 5-4 ruling with
             Justices Alito, Thomas, Kavanaugh, and Gorsuch dissenting, left the order in
             place. On Apr. 2, defendants appealed Judge Ali's Mar. 10 preliminary injunction
             order to the D.C. Circuit.

             58. Colorado v. US Dept. of Health and Human Services, No. 1:25-cv-00121
             Judge Mary S. McElroy (Trump) of the District of Rhode Island, issued a
             temporary restraining order on April 5 reinstating payments to a coalition of states
             which sued the Tramp administration over the cancellation of $11 billion in public
             health funding.

             59. National Council of Nonprofts v. OMB, No. 1:25-cv-00239 Judge Loren L.
             AliKhan (Bider) of the District of D.C. blocked Trump's order to pause federal
             aid while reviewing to determine if it aligned with administration policy. Appeal
             to the D.C. Circuit docketed April 25.

             60. Massachusetts v. NIH, No. l:25-cv-l0338 Judge Angel Kelley (Bider) of
             the District of Massachusetts issued a preliminary injunction on March 5
             prohibiting implementation of the NIH Guidance "in any form with respect to
             institutions nationwide."




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             61. New York v. Trump, No. l:25-cv-00039 Judge John J. McConnell Jr.
             (Obama) of the District of Rhode Island enjoined Trump's order to freeze federal
             spending while reviewing to determine that it aligned with administration policy.
             The First Circuit, on March 26, denied defendants' motion for a stay pending
             appeal of the district court's preliminary injunction order.

             62. RFE/RL, Inc. v. Lake, No. 1:25-cv-00799 Judge Royce C. Lamberth
             (Reagan) of the District of D.C. issued a temporary restraining order forbidding
             Trump from cutting funds to Voice of America.

             63. Widakuswara v. Lake, No. 1:25-cv-01015 Judge Royce C. Lamberth
             (Reagan) of the District of D.C. issued a preliminary injunction on April 22
             requiring the reinstatement of employment positions and funding for Voice of
             America and U.S. Agency for Global Media. The government appealed to the DC
             Circuit April 24.

             64. Radio Free Asia v. United States ofAmeriea, No. 1:25-cv-00907 Judge
             Royce C. Lambeith (Reagan) of the District of D.C. issued a preliminary
             injunction requiring restoration of funding of Radio Free Asia and Middle East
             Broadcasting Networks on April 25. The government immediately filed an appeal
             to the D.C. Circuit, which granted a stay pending appeal on May 3.

             65. Massachusetts Fair Housing Ctr. v. HUD, No. 3:25-cv-30041 Judge
             Richard G. Stearns (Clinton) of the District of Massachusetts enjoined Trump's
             cuts to HUD grant funding and ordered spending reinstated.

             66. Climate United Fund v. Citibank, NA., No. 1:25-cv-00698 Judge Tanya S.
             Chutkan (Obama) of the District of D.C. issued a temporary restraining order
             enjoining EPA's Termination of Greenhouse Gas Reduction Fund Grants.

             67. Association ofAmerican Medical Colleges v. NIH, No. l:25-cv-l0340
             Judge Angel Kelley (Bider) of the District of Massachusetts enjoined Trump's
             NIH grant funding cuts. The Case has been appealed to the First Circuit.

             68. American Association ofColleges.for Teacher Education v. McMahon, No.
             1:25-cv-00702 Judge Julie R. Rubin (Bider) of the District of Maryland issued
             an injunction requiring reinstatement of terminated education grant funds.

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             Defendants appealed the preliminary injunction to the Fourth Circuit. On April l,
             the Fourth Circuit denied Plaintiffs' motion to place the case in abeyance, and on
             April 10, granted the defendants' motion for stay pending appeal.

             69. Mayor and City Council of Baltimore et al. v. Vought, No. 1:25-cv-00458
             Judge Matthew J. Maddox (Bider) of the District of Maryland issued a TRO
             preventing Trump from defunding the CFPB.

             70. Association ofAmeriean Universities v. Department of Healtn and Human
             Services, No. 1:25-cv-10346 Judge Angel Kelley (Bider) of the District of
             Massachusetts issued a nationwide injunction against Trump's NIH funding cuts.
             Defendants appealed to the First Circuit on April 9.

             71. Association ofAmeriean Universities V. Dept. of Energy, No. 1:25-cv-10912
                Judge Allison D. Burroughs (Obama) of the District of Massachusetts issued a
             temporary restraining order on April 16 against the cap instituted on
             reimbursements for indirect costs for federal research grants from the Department
             of Energy.

             72. American Library Association v. Son derling, No. 1:25-cv-01050       Judge
             Richard J. Leon of the District of D.C. granted a temporary restraining order on
             May 1 against the executive order which requires spending reduction of the
             Institute for Museum and Library Services.

             73. Rhode Island v. Trump, No. 1:25-cv-00128       Chief Judge John J. McConnell,
             Jr. (Obama) of the District of Rhode Island, granted a preliminary injunction on
             May 6 to a coalition of states which sued over an Executive Order which requires
             7 agencies to reduce their functions.

             74. State of New York v. US. Dep 't of Education, No. 1:25-cv-02990      Judge
             Edgardo Ramos (Obama) of the Southern District of New York granted a
             preliminary injunction that prohibits the U.S. Department of Education from
             cancelling over $1 billion in unspent COVID-19 pandemic funding grants
             extended past the original deadline by the prior administration.

             75. San Fransisco USD. v. AmeriCorps, 3:25-cv-02425        Judge Edward M.
             Chen (Obama) of the Northern District of California granted a temporary

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             restraining order on March 31 after San Francisco Unified School District sued
             over actions taken to fire employees and freeze grant funding at AmeriCorps.

             76. Citizens for Responsibility and Ethics in Washington v. US. DOGE Service,
             1:25-cv-00511 Judge Christopher R. Cooper (Obama) of the District ofD.C.
             issued a preliminary injunction on March 10 in a lawsuit against DOGE and Eton
             Musk regarding compliance with FOIA and the Federal Records Act.

                                                ELECTIONS

             77. League of United Latin American Citizens v. EOP, No. 1:25-cv-00946
             Judge Colleen Kollar-Kotelly (Clinton) of the District of D.C. granted a universal
             injunction on April 24 against Executive Order 14,248, requiring documentary
             proof of United States citizenship to vote in Federal elections. This case
             consolidates three suits brought by racial minority associations and by Democrat
             Party, campaigns, and elected officials.

                                       DEI-RELATED PROGRAMS

             78. Nat 'I Ass 'n of Diversily Officers in Higher Educ. v. Trump, No. 1:25-cv-00333
                Judge Adam B. Abelson (Bider) of the District of Maryland enjoined Trump's
             order blocking federal funding for DEI programs. On March 14, the Fourth
             Circuit granted the government's motion for a stay of the preliminary injunction
             pending appeal.

             79. California v. Department of Ea'ucation, No. 1:25-cv-10548      Judge My org J.
             Joun (Bider) of the District of Massachusetts granted a temporary restraining
             order blocking Trump's withdrawal of funds to schools teaching DEI. The First
             Circuit denied a motion for stay pending appeal. On April 4, the Supreme Court
             granted a stay pending appeal, writing "the Government is likely to succeed in
             showing the District Court lacked jurisdiction" and that the case may need to be
             brought in the Court of Federal Claims.

             80. Chicago Women in Trades v. Trump, No. 1:25-cv-02005         Senior Judge
             Matthew F. Kennelly (Clinton) of the Northern District of Illinois entered a
             temporary restraining order commanding the reinstatement of DEI grants.


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             81. Doe I v. Ojiee of the Director of National Intelligence, No. 1:25-cv-00300
             Judge Anthony J. Trenga (G.W. Bush) of the Eastern District of Virginia issued an
             "administrative stay" against firing DEI employees with CIA and DNI. The court
             then considered and rejected imposing a TRO to the same effect. On March 31,
             Judge Trenga granted a preliminary injunction enjoining the defendants. On May
             6, defendants filed noticiof appeal to the 4th Circuit.

             82. American Federation of Teachers v. US. Department of Edueation, No.
             1:25-cv-00628 Judge Stephanie A. Gallagher (Trump) of the District of
             Maryland enjoined the U.S. Department of Education's February 14, 2025 "Dear
             Colleague Letter" ending diversity, equity, and inclusion practices in schools by
             threatening to withhold federal funding from those that refuse to comply.

             83. National Education Association v. US Department of Ea'ucation, No.
             1:25-cv-00091 Judge Landya B. McCafferty (Obama) of the District of New
             Hampshire enjoined the U.S. Department of Education's February 14, 2025 "Dear
             Colleague Letter" ending diversity, equity, and inclusion practices in schools by
             threatening to withhold federal funding from those that refuse to comply.

             84. NAACP v. US. Department of Education, No. 1:25-cv-0l 120 Judge
             Dabney L. Friedrich (Trump) of the District of D.C. enjoined the U.S. Department
             of Education's February 14, 2025 "Dear Colleague Letter" ending diversity,
             equity, and inclusion practices in schools by threatening to withhold federal
             funding from those that refuse to comply.




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